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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF GEORGIA
                                         ROME DIVISION


              UNITED STATES OF AMERICA,
                                                          CRIMINAL ACTION FILE
                  v.
                                                          NO. 4:11-CR-022-RLV-WEJ
              JASON VOTROBEK,
              JESSE VIOLANTE,
              ROLAND CASTELLANOS,
              TARA ATKINS, and
              DR. JAMES CHAPMAN,
                             Defendants.


                          NON-FINAL REPORT AND RECOMMENDATION

                   This matter is before the Court on defendant Roland Castellanos’s Motion to

             Suppress Statement [90] and Motion to Suppress Items Seized [91]. The Court

             conducted an evidentiary hearing on those motions on May 1, 2012 [105], which has

             been transcribed [110]. The parties have briefed the issues. (See Def.’s Br. Supp.

             [113]; Gov’t Resp. [120].) On the basis of the testimony and evidence produced at the

             hearing, the undersigned REPORTS that law enforcement complied with the

             requirements of Miranda v. Arizona, 384 U.S. 435 (1966), and that, under the totality

             of the circumstances, any incriminating statement that defendant may have made to




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             law enforcement during the interview at Atlanta Medical Group, Incorporated

             (“AMG”) was noncustodial and voluntary. Likewise, the undersigned REPORTS that

             agents did not violate the Fourth Amendment when searching Mr. Castellanos’s

             attaché bag because it fell within the scope of a valid search warrant for the premises;

             thus, items recovered from its search are also admissible.             Accordingly, the

             undersigned RECOMMENDS that the instant Motions be DENIED.

             I.    STATEMENT OF FACTS

                   A.     The Investigation

                   In May 2010, the Bartow County Sheriff’s Office (“BCSO”) contacted Georgia

             Bureau of Investigation Special Agent In Charge Ken Howard for assistance

             investigating AMG. (Tr. 6-8.) Agent Howard is assigned to the Drug Enforcement

             Administration’s (“DEA”) regional office in Canton, Georgia. (Id. at 7.)

                   In June 2010, Agent Howard became involved in the investigation of AMG,

             assisting Agent Nathan Gibbs of the BCSO Drug Task Force with surveillance of

             AMG, including gathering intelligence on its owners and shareholders and determining

             if criminal activity was taking place there. (Tr. 8, 69-71.) Agent Howard determined

             that the majority of the activity taking place at the clinic was illegal and contacted the




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             DEA’s pharmaceutical-diversion group. (Id. at 8-9.)1 The DEA assigned Agent April

             Whitesell, a diversion investigator, to the case. (Id. at 58-59.) The DEA determined

             that a Title III wiretap was necessary to investigate certain members of AMG,

             including Mr. Castellanos, and launched a multi-agency investigation. (Id. at 9, 59.)2

                   While investigating AMG, Agent Howard learned that a high percentage of its

             clientele had criminal histories (arrests and convictions) for crimes such as drug

             trafficking, pharmaceutical diversion, armed robbery, and aggravated assault. (Tr. 10-

             11; see also id. at 40, 71.) Based on surveillance and follow-up intelligence, Agent

             Howard determined that the people visiting the clinic were there to obtain

             pharmaceuticals such as Oxycodone and Xanax, or were the transporters, drivers, or

             associates of people purchasing pharmaceuticals. (Id. at 11.)

                   Agent Howard also learned that at least two employees of AMG, Jason Votrobek

             and Dr. James Chapman (both co-defendants in this case), had carried firearms in the

             past. (Tr. 11; see also id. at 71.) Agent Howard testified that Mr. Votrobek had a prior

             weapons-related offense for brandishing a handgun in front of a family member and


                   1
                    Under the circumstances here, “diversion” refers to legal pharmaceutical drugs
             which are diverted into the illicit market. (Tr. 59.)
                   2
                     The Court authorized several wiretaps relating to the AMG investigation; the
             last wiretap of Mr. Castellanos’s telephone began on June 6, 2011. (Tr. 59.)

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             an employee. (Id. at 11; see also id. at 41.) Likewise, Dr. Chapman had informed an

             officer during a traffic stop that he had a permit to carry a pistol and that he frequently

             carried it on his person or in his vehicle. (Id. at 12; see also id. at 42, 71.)

                   B.     The Search Warrant

                   On June 3, 2011, United States Magistrate Judge E. Clayton Scofield issued a

             search warrant to Special Agent Lourdes M. Bowen of the DEA authorizing a search

             of AMG. (Gov’t Ex. 9 [106].) The search warrant authorized seizure of the following:

             all controlled substances and related funds and forms (including records of orders,

             purchases, prescriptions, and dispensing); electronic communication devices and

             computers; records related to medical examinations and patient treatment; records of

             financial activities; electronically stored or computer-generated documents reflecting

             patient information, medical records, billing, payment, and financial records; records

             related to medical tests/results, appointments, and insurance; address/telephone books

             and papers with contact information of co-conspirators and individuals or businesses

             with whom they had a financial relationship; indicia of occupancy or ownership of the

             AMG premises (e.g., utility bills, lease agreements, and keys); business records (e.g.,

             receipts, ledgers, and invoices); personal books, records, writings, receipts, and other

             documents regarding acquisition, transfer, or concealment of currency; records related

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             to the purchase of business or personal assets; tax records; and correspondence relating

             to AMG (including emails, notes, and work papers). (Id.)

                   C.     Execution Of The Warrant

                   On June 7, 2011, Agent Howard and a team of law-enforcement officials

             executed the search warrant. (Tr. 9-10 & Gov’t Ex. 9.)             Because there was a

             possibility that persons in AMG might be armed, Agent Howard decided that a raid

             team clearly marked as law enforcement would enter AMG first to secure the premises.

             (Id. at 12.)3 Six officers, including Agent Gibbs, entered the clinic at 10:15 a.m. with

             guns drawn. (Id. at 12, 43, 72-73, 86, 88 & Gov’t Ex. C; see also Tr. 62.)4 Most

             members of the entry team, including Agent Gibbs, wore tactical vests emblazoned

             with “DTF Agent/Police” on the front and back. (Id. at 75.)

                   The entry team split into two groups; one group proceeded down the left hallway

             toward the physician offices, and the other entered the waiting area on the right and

             advanced to the employee break room. (Tr. 73-74.) As he walked down the clinic’s


                   3
                    Prior to entering AMG on June 7, 2011, the agents strongly suspected that Mr.
             Votrobek was not at the clinic that day. (Tr. 41.) However, they assumed that Dr.
             Chapman (who was present) was armed. (Id. at 42.)
                   4
                     The search team totaled more than twelve officers, including Agent Whitesell.
             (Tr. 43, 60-61; cf. at 87 (Agent Gibbs testified that ten to fifteen officers participated
             in the entry).)

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             left hallway, Agent Gibbs announced in a loud voice: “Let me see your hands. Let me

             see your hands. Search warrant. Let me see your hands.” (Id. at 74-75; see also id.

             at 88-89.)5 Other members of the entry team announced: “Police. Search Warrant.”

             (Id. at 75.) An officer gave the “all clear” signal within one and a half minutes after

             entry, and the officers holstered their weapons. (Id. at 75-76, 86-88 & Gov’t Ex. C.)

             Shortly thereafter, officers escorted clinic patrons outside. (Id. at 89.)

                   As some entry team members were leaving, Agent Howard entered the clinic

             (approximately one to two minutes after the initial entry). (Tr. 13-14; see also id. at

             46.)6 He entered through the front door and saw clients sitting in a primary waiting

             room watching television and employees standing in a reception area and in office

             doorways. (Id. at 13-15; see also id. at 16, 45, 78.) Agent Howard walked through the

             entire clinic via its main hallway (a horseshoe shape); while doing so, he saw more




                   5
                    Once the entry team had secured AMG, Agent Gibbs’s duty was to locate Tara
             Atkins and, if she consented, conduct an interview. (Tr. 73; see also id. at 76-77.)
                   6
                     Once the entry team had secured AMG, Agent Howard’s primary role was to
             inform other law-enforcement officers (simultaneously executing five or more search
             warrants in Florida and other Georgia locations) which suspects were present at the
             clinic. (Tr. 12-13.) Agent Howard’s second duty was to locate Mr. Castellanos
             (AMG’s facility director) and, if he consented, conduct an interview. (Id. at 13, 30;
             see also id. at 18, 77.)

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             patients in a secondary waiting area. (Id. at 14-16 & Gov’t Ex. 1.)7 The other officers

             participating in the search began their assigned tasks, which included taking photos,

             videotaping the search, accounting for all persons present in the clinic, and conducting

             interviews. (Id. at 76-79, 85-86 & Gov’t Ex. C.)

                    When patients asked Agent Howard what was happening, he told then that the

             officers had a search warrant for the property and would like to have “general

             conversations” with them. (Tr. 17.) A patient asked Agent Howard if he could leave.

             (Id. at 17; see also id. at 46.) Agent Howard stated that the patient could do so, but that

             he (Agent Howard) would prefer that the patient, if willing, speak with an officer first.

             (Id. at 17.) Some patients consented to searches, and some of those were arrested

             based on drug-related charges, including possession of marijuana, controlled

             substances, and/or pills outside the original container. (Id. at 46, 84-85, 89.)

                    Agent Howard then went outside the clinic to place telephone calls and speak

             with other officers. (Tr. 17.) Those activities took ten or fifteen minutes. (Id. at 17-

             18.) When Agent Howard re-entered the clinic, he found Mr. Castellanos standing in

             the employee portion of the reception area. (Id. at 18-19 & Gov’t Ex. 2; see also id.


                    7
                        Agent Howard also saw clinic clients standing in an outside smoking area. (Tr.
             45.)

                                                          7



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             at 46.)8 Agent Howard showed his credentials to Mr. Castellanos and identified

             himself. (Id. at 19-21.) Agent Howard reminded Mr. Castellanos that they had spoken

             on the telephone several months prior; Mr. Castellanos seemed to recall that

             conversation. (Id. at 19-20.)9 Agent Howard told Mr. Castellanos that the officers had

             a search warrant for the clinic and asked if he would agree to discuss the business. (Id.

             at 20; see also id. at 47.) Mr. Castellanos agreed, and Agent Howard asked if they

             could speak in one of the clinic offices. (Id. at 47.) Mr. Castellanos pointed to

             Physician’s Room 1. (Id. at 21, 47 & Gov’t Ex. 7; see also id. at 47.)

                   D.     Interview Of Mr. Castellanos

                   Mr. Castellanos entered the room; Agent Howard followed him and asked if he

             had any weapons, drugs, or anything illegal on his person. (Tr. 22.) Mr. Castellanos

             answered in the negative and began to empty his pockets onto the desk in the room

             (items removed included a cellular telephone, change, car keys, and a pen). (Id. at 22;


                   8
                    According to Agent Howard, Mr. Castellanos was not carrying an attaché bag
             when they met. (Tr. 23; see also id. at 48.) However, Mr. Castellanos was working
             at AMG that day. (Id. at 30.)
                   9
                     At some point during the preliminary investigation of AMG, Mr. Castellanos
             contacted Agent Howard regarding AMG’s operating practices. (Tr. 44.) It appeared
             to Agent Howard that Mr. Castellanos was “fishing for information . . . as to whether
             or not the clinic was under investigation or whether [Mr. Castellanos] himself was
             under investigation for criminal activity.” (Id.)

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             see also id. at 47, 49.)10 Agent Howard did not seize those possession; rather, he asked

             Mr. Castellanos for permission to search his person; defendant agreed. (Id. at 22-23;

             see also id. at 47, 50.) Agent Howard patted him down for weapons (without reaching

             into his pockets) and told Mr. Castellanos that he could put away his possessions. (Id.

             at 22; see also id. at 47.) Agent Howard stepped out of the room to receive a telephone

             call and to get a digital recorder in order to document the interview. (Id. at 22, 24-25,

             27; see also id. at 51.)

                    Agent Howard left the door to the room open and asked a BCSO deputy who

             was standing in the hallway to observe Mr. Castellanos to “[m]ake sure he [did not] do

             anything crazy,” meaning hurt himself or destroy evidence that might be in the room.

             (Tr. 23-24.) The deputy remained in the hallway and did not block the entrance to the

             room. (Id. at 24.) Agent Howard did not instruct the deputy to keep Mr. Castellanos

             in the room and did not instruct Mr. Castellanos to remain there. (Id. at 25.) Agent

             Howard was absent for five to ten minutes. (Id.) When Agent Howard returned, Mr.

             Castellanos was still in the room. (Id.) The deputy who had been watching Mr.

             Castellanos stated that he had been talking on the telephone. (Id. at 26; see also id. at


                    10
                       Agent Howard did not recall seeing Mr. Castellanos remove a wallet, and
             testified that, regardless, he did not take Mr. Castellanos’s wallet. (Tr. 49.)

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             61-62.) Agent Howard told a DEA agent to notify the officers monitoring Mr.

             Castellanos’s telephone calls. (Id. at 26.)11

                   Agent Howard returned to the room with Special Agent James Harder of the

             Federal Bureau of Investigation to interview Mr. Castellanos. (Tr. 27.) Approximately

             thirty to forty minutes had passed between the time the officers entered the clinic and

             the start of the interview at 10:55 a.m. (Id. at 55; see also id. at 62 (estimating forty-

             five minutes had passed) & Gov’t Ex. A.) Agent Howard recorded the interview, but

             he did not Mirandize Mr. Castellanos or arrest him. (Id. at 27-29 & Gov’t Ex. A; see

             also id. at 50, 60 (Agent Whitesell also did not Mirandize him).)

                   The agents sat at a desk opposite Mr. Castellanos; Agent Whitesell joined the

             interview early on. (Tr. 28, 60, 90 & Gov’t Ex. A.)12 Agent Howard stated that Mr.

             Castellanos was not under arrest and that the interview was free and voluntary, but did

             not explicitly tell Mr. Castellanos that he was free to leave. (Id. at 52, 55.) Agent

             Howard explained to Mr. Castellanos that the officers had a search warrant for the

             clinic and that they had been investigating AMG for a year. (See Gov’t Ex. A.) He


                   11
                      Agents were monitoring Mr. Castellanos’s telephone calls that day via a
             wiretap. (Tr. 59-60.)
                   12
                     Initially, Agent Whitesell interviewed Dr. Chapman; she left that interview to
             assist Agent Howard in Mr. Castellanos’s interview. (Tr. 60; see also id. at 77.)

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             informed Mr. Castellanos that other search warrants were being executed that day,

             including at Mr. Castellanos’s apartment (where his mother was located). (See id.)13

             The three agents then interviewed Mr. Castellanos. (See id.) In Agent Howard’s

             opinion, Mr. Castellanos understood that he was free to leave and appeared

             comfortable with the situation. (Tr. 53.)

                    During the interview, Agent Howard left the room repeatedly to make and

             receive telephone calls or text messages in order to exchange newly developed

             information with agents who were executing related search warrants. (Tr. 30-31 &

             Gov’t Ex. A.) Likewise, Mr. Castellanos’s cellular telephone phone rang several times

             during the interview. (Tr. 33; see also id. at 62-63.) At one point, Agent Howard told

             Mr. Castellanos that he could place or answer a telephone call, which he did.14 (Id. at

             34; see also id. at 51, 54.) Agent Howard took that opportunity to ask an officer in the

             hallway to bring water for himself, Mr. Castellanos, and Agent Whitesell. (Id. at 34;

             see also id. at 54.)




                    13
                      Mr. Castellanos told Agent Howard that his mother had high blood pressure.
             (Tr. 29; see also id. at 54-55.)
                    14
                      Mr. Castellanos retained possession of his cellular telephone during the
             interview. (Tr. 34.)

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                   During the interview, Agent Howard also left the room to speak with another

             officer (either Agent Gibbs or Captain Mayton), who was executing the search warrant

             at AMG, regarding items discovered at the clinic. (Tr. 31.) Additionally, Agent Gibbs

             told Agent Howard that he had found either crystal methamphetamine or cocaine and

             a suspected ecstasy pill in an attaché bag that the agents believed belonged to Mr.

             Castellanos.15 (Id. at 32.) Later, Agent Gibbs returned to the interview room and

             asked Mr. Castellanos for his car keys; defendant complied. (Id. at 34; see also id. at

             49-50, 83, 91.) Agent Howard asked Mr. Castellanos if there was anything illegal in

             the car and if the officers could search it; Mr. Castellanos stated that there was not and

             gave the officers permission to search the car. (Id. at 34.)16

                   The agents interviewed Mr. Castellanos for just over an hour, concluding at

             12:18 p.m. (Tr. 36 & Gov’t Ex. A; see also Tr. 55, 62.) At no time during that

             interview did the agents tell Mr. Castellanos that he had to stay at AMG, or threaten,

             shout at, or display a firearm to him. (Id. at 35, 39, 60; see also id. at 42, 57.) None


                   15
                      Agent Gibbs found the attaché bag in Mr. Castellanos’s office at the clinic.
             (Tr. 32-33.) Agent Howard had seen Mr. Castellanos carry the bag to and from work
             during the surveillance of AMG. (Id. at 32-33.) When executing the warrant, officers
             did not obtain Mr. Castellanos’s permission to search his attaché bag. (Id. at 48.)
                   16
                     Agent Howard testified that the officers had a warrant to seize and search Mr.
             Castellanos’s car. (Tr. 34.)

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             of the agents made any promises to Mr. Castellanos, nor did they place him in

             handcuffs, arrest him, or touch him after the initial pat down, except to shake his hand.

             (Id. at 35-36, 38, 60, 65, 85.) Immediately following the interview, Mr. Castellanos

             asked the officers if he could use the restroom. (Id. at 36.) Agent Howard stated yes;

             however, because he had not searched the bathroom or Mr. Castellanos, Agent Howard

             waited at the door inside the restroom. (Id. at 36-37, 50, 55-56.)17

                   E.     Search of Mr. Castellanos’s Attaché Bag

                   Upon completing his interview of Ms. Atkins (which lasted approximately thirty

             to forty-five minutes), Agent Gibbs rejoined the search team. (Tr. 78-79.) He

             searched Mr. Castellanos’s office, including a black attaché bag sitting on a cart. (Id.

             at 79-80, 93 & Gov’t Ex. 3.)18 Inside the bag, Agent Gibbs found business cards for

             Crown Roland (one of Mr. Castellanos’s businesses), a clear plastic bag containing a




                   17
                      At some point after the interview, Mr. Castellanos went outside the clinic to
             smoke. (Tr. 51.) Agent Howard saw him smoking with other AMG employees and
             patients. (Id.) At that time, officers were in the clinic parking lot searching vehicles
             and interviewing patients. (Id.)
                   18
                      Agent Gibbs searched the attachéd bag based on the warrant’s directive to
             locate financial documents, patient files, and records; he suspected such documents
             might be in the bag. (Tr. 83, 91.) He did not seek consent from Mr. Castellanos to
             search the bag. (Id. at 91-92.)

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             white crystal-like substance, and a blue plastic bag containing a suspected ecstasy pill.

             (Tr. 80-82, 91 & Gov’t Exs. 4 & 5.)

                   F.     Events After The Interview

                   Approximately twenty minutes after the interview with Mr. Castellanos ended,

             he placed a telephone call to a female friend. (Tr. 63-64 & Gov’t Ex. B.) During that

             call, Mr. Castellanos stated that the officers had asked him questions and had told him

             that he was not under arrest. (See Gov’t Ex. B.) He also stated that the agents “are

             basically holding me,” that he did not think he could leave the premises, and that he

             was not going to try to leave. (See id.)




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                   Several hours (possibly four or five hours) after officers entered the clinic, an

             AMG employee who was standing in the clinic’s break room asked Agent Howard if

             she could leave the premises. (Tr. 37, 39-40; see also id. at 56-58.) Agent Howard

             told the employee that everyone could leave, but that he would prefer for someone to

             remain at the clinic or return to it in order to lock the building after the officers had

             completed the search. (Id. at 38, 40; see also id. at 56-57.)19 Mr. Castellanos was

             standing near that employee in the break room; he appeared to be listening to the

             conversation. (Id. at 37-38; see also id. at 56-57.) Indeed, Mr. Castellanos left AMG

             without asking Agent Howard for permission and before the officers completed the

             search. (Id. at 38-39; see also id. at 92.)




                   19
                       Agent Howard testified that, when searching a business, he prefers for an
             employee be present in order to inform that person as to what is being taken, to answer
             questions by the officers regarding issues that may arise during the search, and to lock
             the business after the search is complete to ensure the safety of the remaining items.
             (Tr. 38.)

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             II.   THE INDICTMENT

                   On June 29, 2011, the grand jury returned an eight-count Indictment [1]

             charging defendants with drug-conspiracy and money-laundering offenses (and

             seeking forfeiture of cash and property). The first six paragraphs of the Indictment

             provide relevant background, introducing the Controlled Substances Act (“CSA”) and

             its Schedules (id. ¶ 1); outlining the classification of various prescription drugs as

             controlled substances based on their potential for abuse (id. ¶ 2); describing the

             requirement that Schedule II controlled substances be dispensed or distributed only by

             prescription from a licensed practitioner holding a registration number from the DEA

             allowing that activity (id. ¶ 3); stating that under Federal regulations, in order for a

             prescription for a controlled substance to be valid, it must be issued for a legitimate

             medical purpose by a practitioner acting in the usual course of his professional practice

             (id. ¶ 4); explaining that an order that purports to be a prescription but is not issued in

             the course of professional treatment or for legitimate and authorized research is not a

             prescription within the meaning of the CSA, and that the person who issued it violated

             21 U.S.C. § 841(a)(1) (id. ¶ 5); and showing that Oxycodone, an opiate, and Percocet,

             Percodan, and Oxycontin, brand names of prescription drugs that contain Oxycodone,

             are Schedule II controlled substances (id. ¶ 6).

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                   The next two paragraphs of the Indictment introduce the defendants. Dr.

             Chapman worked for the AMG, was registered with the DEA under the provisions of

             the CSA as a practitioner, and was assigned a DEA registration number that authorized

             him to write prescriptions for Schedule II controlled substances. (Indict. ¶ 7.)

             Defendant Votrobek was the principal owner of AMG and was directly involved in its

             operations. (Id. ¶ 8.) Defendant Violante had an unspecified ownership interest in

             AMG and participated in its operations. (Id.) Defendant Castellanos was the Facility

             Director, in which capacity he oversaw the clinic’s day-to-day operations. (Id.)

             Defendant Atkins worked as AMG’s Office Manager and was involved in all aspects

             of the clinic’s operations, including patient intake, dispensing pills, and monitoring the

             doctors’ work activities. (Id.) Finally, the Indictment alleges that defendants

             Votrobek, Violante, Castellanos, and Atkins are not medical doctors authorized to

             practice medicine. (Id.)

                   The introductory section of the Indictment concludes with the assertion that

             AMG operated on a cash-only basis and did not accept insurance from patients.

             (Indict. ¶ 9.) Further, AMG allegedly sold and dispensed Oxycodone on site at

             substantially marked-up prices. (Id.)




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                    Count One, labeled “Drug Conspiracy,” begins at paragraph 10 and incorporates

             the preceding paragraphs. (See Indict. ¶ 10.) Paragraph 11 of the Indictment reads as

             follows:

                    Beginning in or about May 2010 and continuing until on or about May
                    24, 2011, within the Northern District of Georgia, the defendants, JASON
                    VOTROBEK, JESSE VIOLANTE, ROLAND CASTELLANOS, TARA
                    ATKINS, and DR. JAMES CHAPMAN, did knowingly combine,
                    conspire, confederate, agree and have a tacit understanding with others
                    known and unknown to the Grand Jury to violate Title 21, United States
                    Code, Section 841(a)(1), that is, to knowingly and intentionally distribute
                    and dispense controlled substances in violation of Title 21, United States
                    Code, Sections 846 and 841(b)(1)(C). Said conspiracy involved
                    Oxycodone, a prescription drug designated as a Schedule II controlled
                    substance, which was distributed and dispensed for other than a
                    legitimate medical purpose and not in the usual course of professional
                    practice.

             (Id. ¶ 11.)20

                    After a heading which states, “Ways, Manners and Means of the Conspiracy,”

             the Indictment asserts that the “purpose of the conspiracy” was to sell as many


                    20
                       Section 841(a)(1) makes it “unlawful for any person knowingly or
             intentionally–(1) to manufacture, distribute, or dispense, or possess with intent to
             manufacture, distribute, or dispense, a controlled substance.” Section 846 provides as
             follows: “Any person who attempts or conspires to commit any offense defined in this
             subchapter shall be subject to the same penalties as those prescribed for the offense,
             the commission of which was the object of the attempt or conspiracy.” Section
             841(b)(1)(C) sets the penalties for violating § 841(a)(1) in the case of, inter alia, a
             Schedule II controlled substance.

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             Oxycodone pills as possible, irrespective of any legitimate medical purpose for

             prescribing them, to generate windfall profits. (Indict. ¶ 12.) To accomplish that

             purpose, the Indictment alleges that Dr. Chapman, with the knowing involvement and

             participation of Messrs. Votrobek, Violante, Castellanos, and Ms. Atkins, would

             distribute and dispense Oxycodone for other than a legitimate medical purpose and not

             in the usual course of professional practice, thus “causing, aiding, abetting, and

             facilitating the misuse, abuse, and further distribution of the controlled substance.”

             (Id.) AMG, under the governance and at the direction of Messrs. Votrobek, Violante,

             Castellanos, and Ms. Atkins, would then “dispense the prescribed pills on site for a

             price that generated a high profit margin.” (Id.)

                   The Indictment asserts that, as part of the conspiracy, Dr. Chapman would

             prescribe Oxycodone at a patient’s first appointment “without conducting a

             neurological and physical examination that was appropriate to the patient’s complaint,”

             and thus made no legitimate diagnosis justifying that prescription. (Indict. ¶ 13.)

             Further, the Indictment alleges that Dr. Chapman would prescribe Oxycodone “in

             amounts and dosage combinations that exceeded that required for legitimate medical

             treatment.” (Id.) At later follow-up visits, Dr. Chapman would write “additional

             prescriptions without further medical evaluations, or with limited medical evaluation,”

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             that was required to continue writing prescriptions at the dosages indicated on the

             prescriptions. (Id.)

                   The Indictment next alleges that Dr. Chapman continued prescribing controlled

             substances after ignoring “obvious indications that people were abusing, misusing, and

             distributing the prescribed drugs.” (Indict. ¶ 14.) The clinic serviced an “extreme

             number of patients, most visiting from out-of-state.” (Id.) Many patients, in turn,

             distributed pills distributed by AMG. (Id.)

                   The Indictment further alleges that, as part of the conspiracy, Messrs. Votrobek,

             Violante, Castellanos, and Ms. Atkins, “together, monitored and directed Dr. Chapman

             with respect to the number of patients that he examined.” (Indict. ¶ 15.) According

             to the charging document, on at least one occasion when Dr. Chapman was unable to

             do so himself, Ms. Atkins, with the knowledge and participation of Mr. Castellanos,

             “took steps to facilitate” the prescribing of Oxycodone to patients, even though she

             was not a doctor. (Id.)

                   The Indictment alleges that, as part of the conspiracy, Messrs. Votrobek,

             Violante, Castellanos, and Ms. Atkins, together, monitored law enforcement actions

             directed at other facilities like AMG, that were illegally prescribing and dispensing

             controlled narcotics, to develop practices and procedures to avoid AMG’s being

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             detected and targeted by law enforcement. (Indict. ¶ 16.) When it was determined, for

             example, that operating as a cash-only business might be a factor in being targeted by

             law enforcement, Messrs. Votrobek, Violante, Castellanos, and Ms. Atkins, together,

             began to “take steps to transition into accepting insurance from patients.” (Id.)

                   In the last paragraph of this section, the Indictment alleges that patients at AMG

             falsified drug screens, including bringing to the clinic condoms containing urine.

             (Indict. ¶ 17.) Non-medical personnel assisted with standard medical practices,

             including taking patients’ blood pressure. (Id.) Patients paid for staff members’

             lunches and, at times, directly bribed AMG for access to the clinic. (Id.) Many

             patients had visible signs of being drug addicts. (Id.) According to the grand jury, Dr.

             Chapman, Messrs. Votrobek, Violante, Castellanos, and Ms. Atkins, knowingly

             sanctioned these business practices.

                   Counts Two through Eight of the Indictment allege various money-laundering

             offenses in violation of 18 U.S.C. §§ 1956 or 1957 against defendants Votrobek,

             Violante, Castellanos, and Atkins (Counts Two and Three); defendants Votrobek,

             Violante, and Castellanos (Count Four), defendants Votrobek and Violante (Counts

             Five and Seven), and defendant Castellanos (Counts Six and Eight).




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             III.   CONTENTIONS OF THE PARTIES

                    Mr. Castellanos argues that the search of his attaché bag exceeded the scope of

             the warrant (which he characterizes as authorizing the seizure of controlled

             substances); therefore, any evidence found therein must be excluded. (Def.’s Br. Supp.

             3-5.)21 Likewise, he contends that the statement he made during the June 7, 2010

             interview must be suppressed because the agents failed to Mirandize him and he was

             effectively in custody under the totality of the circumstances. (Id. at 6-7.)

                    The Government responds that many of the items expressly identified in the

             search warrant were likely to be found in an attaché bag; therefore, the controlled

             substances found therein are admissible.       (Gov’t Resp. 15-18.)      Likewise, the

             Government argues that Mr. Castellanos’s statements are admissible because he was

             not in custody at the time and voluntarily spoke with the agents. (Id. at 18-32.) The

             undersigned addresses each issue in turn below.




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                      Mr. Castellanos does not challenge the lawfulness of the search warrant or the
             underlying affidavit. (See Def.’s Br. Supp. 3.) He does, however, complain that Ms.
             Atkins’s purse was not searched, while AMG patients were searched. (Id. at 4.) Those
             facts are irrelevant to the instant Motions.

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             IV.   DISCUSSION

                   A.     Search Of The Attaché Bag Was Within The Warrant’s Scope

                   The Fourth Amendment requires that a warrant “particularly describ[e] the place

             to be searched, and the persons or things to be seized,” U.S. Const. amend. IV, in order

             to guard against “general exploratory searches,” United States v. Khanani, 502 F.3d

             1281, 1289 (11th Cir. 2007). “If a search exceeds the scope of the terms of a warrant,

             any subsequent seizure is unconstitutional.” United States v. Jackson, 120 F.3d 1226,

             1228 (11th Cir.1997) (per curiam).

                   The scope of the search generally includes any area where the items in question

             may be found and “is generally not limited by the possibility that separate acts of entry

             or opening may be required to complete the search.” Jackson, 120 F.3d at 1228. For

             example, in United States v. Gonzalez, 940 F.2d 1413 (11th Cir. 1991), the Eleventh

             Circuit determined that, based on a residential search warrant authorizing the seizure

             of documents and currency related to the illegal distribution of controlled substances,

             officers could search a locked briefcase inside the home even though it did not belong

             to the homeowner. See id. at 1420.

                   Here, in addition to controlled substances, the search warrant particularly

             authorized, inter alia, the seizure of documents, journals, and receipts related to

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             AMG’s financial/business activities, accounts, and relationships; indicia of occupancy,

             including bills and keys; insurance records; personal records, writings, and receipts

             showing the acquisition, concealment, or transfer of currency; records relating to the

             purchase of business or personal assets; tax records; and correspondence, work papers,

             or notes relating to AMG. (See Gov’t Ex. 9.) An attaché bag could easily contain such

             items. Moreover, given his position as AMG’s facility director, Mr. Castellanos likely

             carried some of the above items in his attaché bag to and from his office at AMG

             (although Agent Gibbs did not know whose bag or office he was searching at the time).

             See United States v. Young, 909 F.2d 442, 445 (11th Cir.1990) (stating “that the usual

             occupant of a building being searched [by a warrant] would lose a privacy interest in

             his belongings located there”). Thus, the search warrant (which Mr. Castellanos

             concedes was valid) provided sufficient authorization for the search of the attaché bag

             located in an AMG office, and the items recovered from it are admissible at trial.

             Accordingly, the undersigned RECOMMENDS that Mr. Castellanos’s Motion to

             Suppress Items Seized be DENIED.




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                   B.     Defendant’s Statements Were Noncustodial And Voluntary

                   The Fifth Amendment provides in relevant part that, “No person . . . shall be

             compelled in any criminal case to be a witness against himself.” U.S. Const. amend.

             V. In Miranda v. Arizona, 384 U.S. 436 (1966), the Supreme Court explained that,

             “when an individual is taken into custody or otherwise deprived of his freedom by the

             authorities in any significant way and is subjected to questioning, the privilege against

             self-incrimination is jeopardized.” Id. at 478. Therefore, in order for a custodial

             statement to be admitted as evidence, the person to be interrogated first must be

             advised that (1) the government may use that statement against him to secure a

             conviction, (2) he has the right to remain silent, and (3) he has the right to counsel. Id.

             at 468-70.

                   Those “Miranda safeguards come into play whenever a person in custody is

             subjected to either express questioning or its functional equivalent.” Rhode Island v.

             Innis, 446 U.S. 291, 300-01 (1980). It is undisputed that the officers did not arrest Mr.

             Castellanos or Mirandize him before or during the June 7, 2011 interview at issue.

             However, even if a person has not been arrested, advice of Miranda rights is required

             if there is a restraint on freedom of movement to the degree associated with a formal

             arrest. Minnesota v. Murphy, 465 U.S. 420, 430 (1984); see also United States v.

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             Welsh, 417 F.2d 361, 363 (5th Cir. 1969) (“We have held that an officer does not have

             to give these warnings until a person is in custody or until a person’s freedom is

             deprived in some significant way.”).22 Thus, the Court must determine if law

             enforcement restrained Mr. Castellanos to that degree,

                   In making that determination, “[t]he only relevant inquiry is how a reasonable

             man in [Mr. Castellanos’s] position would have understood his situation.” Berkemer

             v. McCarty, 468 U.S. 420, 442 (1984). The “custody” inquiry is objective; it is viewed

             from the perspective of the reasonable innocent person. Florida v. Bostick, 501 U.S.

             429, 437-38 (1991); United States v. Moya, 74 F.3d 1117, 1119 (11th Cir. 1996).

             “[T]he actual, subjective beliefs of the defendant and the interviewing officer on

             whether the defendant was free to leave are irrelevant.” Moya, 74 F.3d at 1119. As

             explained by the Eleventh Circuit in United States v. Luna-Encinas, 603 F.3d 876

             (11th Cir. 2010), “although a reasonable person in the defendant’s position may feel

             constrained not to leave the scene of a police encounter at a particular moment–and

             thus may be deemed to have been ‘seized’ by law enforcement–he will not necessarily

             be considered in ‘custody’ for Fifth Amendment purposes.’” Id. at 881. Similarly,

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                      The Eleventh Circuit has adopted as binding precedent all Fifth Circuit
             decisions handed down before the close of business on September 30, 1981. Bonner
             v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc).

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             “[t]he fact that an investigation has focused on a suspect does not necessarily trigger

             the need for Miranda warnings.” United States v. Muegge, 225 F.3d 1267, 1270 (11th

             Cir. 2000) (per curiam).

                   Factors the Court must consider in assessing whether a reasonable innocent

             person would have understood his freedom to have been curtailed to a degree

             associated with a formal arrest under the circumstances include, “whether the officers

             brandished weapons, touched the suspect, or used language or a tone that indicated that

             compliance with the officers could be compelled,” United States v. Street, 472 F.3d

             1298, 1309 (11th Cir. 2006) (citation and quotation marks omitted), and the location

             and length of the detention, Luna-Encinas, 603 F.3d at 881.

                   Here, Mr. Castellanos has not satisfied his burden to show that he spoke with

             law enforcement under circumstances equivalent to a formal arrest. First, there is no

             evidence that any officer brandished a weapon at Mr. Castellanos immediately prior

             to or during the interview. Although agents entered AMG with their guns drawn (for

             safety reasons), they holstered their weapons within one and a half minutes–when they

             received the “all clear” signal. (Tr. 75-76, 86-88.) Thus, even assuming the agents

             “seized” defendant while the AMG premises was secured, he was not formally arrested

             or in “custody.” Moreover, the agents did not interview Mr. Castellanos until thirty

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             to forty minutes later (id. at 55, 62), and at no point during that discussion did agents

             display or threaten defendant with a firearm (id. at 35, 39, 60).

                   Second, the agents did not demand Mr. Castellanos speak with them or treat him

             in a manner that a reasonable innocent person would interpret as coercive. Rather,

             Agent Howard approached Mr. Castellanos (who was standing in a reception area),

             stated that the officers were executing a search warrant, and asked if he was willing to

             talk about AMG’s business. (Tr. 18-20.) Mr. Castellanos agreed; Agent Howard

             asked if they could use a clinic office; Mr. Castellanos pointed to an open room and

             the men entered that office. (Id. at 20-21, 47.) Agent Howard asked defendant for

             permission to pat him down for weapons, but did not seize any of his belongings or

             place him in handcuffs. Mr. Castellanos (on his own) began to empty the contents of

             his pockets; Agent Howard told him to put away his possessions(including car keys

             and a cellular telephone). (Id. at 22-23.) Agent Howard then left the room to procure

             a recoding device and asked a deputy standing in the hallway to watch Mr. Castellanos

             to ensure that he did not hurt himself or destroy evidence. (Id. at 23-24.) Agent

             Howard left the office door open and did not direct the deputy to restrain Mr.

             Castellanos or state that he could not leave. (Id. at 24-25.) Indeed, defendant placed

             a telephone call in Agent Howard’s absence. (Id. at 26.)

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                   Third, agents interviewed Mr. Castellanos in a conversational, non-

             confrontational manner at a neutral location. At the outset of the recorded interview,

             Agent Howard specifically told defendant that he was not under arrest and that his

             participation was free and voluntary. (Tr. at 52, 55 & Gov’t Ex. A.) Both Agent

             Howard and Mr. Castellanos repeatedly interrupted the interview to receive text

             messages and place telephone calls. (Id. at 30-34, 51, 54, 62-63 & Gov’t Ex. A.) The

             interview was not lengthy, lasting approximately one hour, and took place in an AMG

             office during work hours. (Id. at 26 & Gov’t Ex. A); see Muegge, 225 F.3d at 1269-71

             (finding that the defendant was not in custody where his supervisor directed him to

             speak with investigators in a secure interview room with the door closed for more than

             two hours); see also Brown, 441 F.3d at 1348 (noting that “‘[c]ourts are much less

             likely to find the circumstances custodial when the interrogation occurs in familiar or

             at least neutral surroundings’”) (quoting United States v. Ritchie, 35 F.3d 1477, 1485

             (10th Cir. 1994)). Additionally, Mr. Castellanos never asked to end the interview or

             to leave the premises.23 See Luca-Encinas, 603 F.3d at 882; United States v. Phillips,

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                      Defendant’s request to use the bathroom (after the interview ended), and his
             impression of the situation (revealed in a recorded telephone conversation twenty
             minutes after the interview) are irrelevant. See Moya, 74 F.3d at 1119 (“[T]he actual,
             subjective beliefs of the defendant . . . on whether the defendant was free to leave are
             irrelevant.”)

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             812 F.2d 1355, 1362 (11th Cir.1987) (concluding that defendant was not in custody

             because, inter alia, he “never requested a lawyer or to terminate the interview”).

                   For the reasons set forth above, the events leading up to the interview and the

             manner in which the agents conducted it “did not involve the type of ‘highly intrusive’

             coercive atmosphere that may require Miranda warnings even before a formal arrest

             is made.” United States v. Acosta, 363 F.3d 1141, 1150 (11th Cir. 2004). Thus, based

             on the totality of the circumstances, Mr. Castellanos was not in custody, or restrained

             in a manner akin to formal arrest, when he made the statement at issue. Rather, “[t]he

             totality of the circumstances were such that a reasonable person in his position would

             not have believed that he was utterly at the mercy of the police, away from the

             protection of any public scrutiny, and had better confess or else.” Id. Therefore, the

             agents were not obligated to advise Mr. Castellanos of his Miranda rights prior to the

             interview, and no Fifth Amendment violation occurred. Accordingly, the undersigned

             RECOMMENDS that defendant’s Motion to Suppress Statement be DENIED.

             V.    CONCLUSION

                   For the reasons stated above, the undersigned RECOMMENDS that both

             defendant’s Motion to Suppress Statement [90] and Motion to Suppress Items Seized

             [91] be DENIED.

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                  SO RECOMMENDED, this 25th day of June, 2012.




                                         WALTER E. JOHNSON
                                         UNITED STATES MAGISTRATE JUDGE




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